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                                  No. 23-12313


            IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT
                 ________________________________
   HISPANIC FEDERATION, PODER LATINX, VERÓNICA HERRERA-
             LUCHA, NORKA MARTÍNEZ, and A. DOE,
                                             Plaintiffs-Appellees,
                                       v.

CORD BYRD, in his official capacity as Florida Secretary of State, and ASHLEY
      MOODY, in her official capacity as Florida Attorney General,

                                      Defendants-Appellants.
                   ________________________________

               On Appeal from the United States District Court
                      for the Northern District of Florida
              No. 4:23-cv-00218-MW-MAF (Hon. Mark Walker)
                    ________________________________

                  BRIEF OF PLAINTIFFS-APPELLEES
                   ________________________________

Roberto Cruz                                Adriel I. Cepeda Derieux
Miranda Galindo                             Julie A. Ebenstein
Delmarie Alicea                             Megan C. Keenan
LATINOJUSTICE PRLDEF                        Dayton Campbell-Harris
4700 Millenia Blvd. Suite 500               Sophia Lin Lakin
Orlando, FL 32839                           AMERICAN CIVIL LIBERTIES
(321) 754-1935                              UNION FOUNDATION
                                            125 Broad St., 18th Floor
Cesar Z. Ruiz                               New York, NY 10004
Fulvia Vargas De-Leon*                      (212) 549-2500
LATINOJUSTICE PRLDEF
475 Riverside Drive, Suite 1901
New York, NY 10115
(212) 392-4752


                  Additional Counsel Listed on Inside Cover
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Estee M. Konor*                             Nicholas L.V. Warren
DĒMOS                                       ACLU FOUNDATION OF FLORIDA
80 Broad Street, 4th Floor                  1809 Art Museum Drive, Ste. 203
New York, NY 10004                          Jacksonville, FL 32207
(212) 485-6065                              (786) 363-1769

John A. Freedman                            Daniel B. Tilley
Jeremy Karpatkin                            Caroline A. McNamara
ARNOLD & PORTER KAYE SCHOLER LLP            ACLU FOUNDATION OF FLORIDA
601 Massachusetts Ave., N.W.                4343 W Flagler St., Suite 400
Washington, DC 20001                        Miami, FL 33134
(202) 942-5316                              (786) 363-2714

                                            Evan Preminger*
                                            Rayne Ellis*
                                            ARNOLD & PORTER KAYE SCHOLER LLP
                                            250 W. 55th Street
                                            New York, NY 10019
                                            (212) 836-7786

                                            * Admission Pending


 Counsel for Plaintiffs-Appellees Hispanic Federation, Poder Latinx, Verónica
    Herrera-Lucha, Norka Martínez, and Elizabeth Pico (formerly A. Doe)
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     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Plaintiffs-Appellees submit the following statement of their corporate interests:

      1.     Plaintiff Hispanic Federation has no parent corporation or any other

publicly held corporation owning 10% or more of its stock.

      2.     Plaintiff Poder Latinx is a fiscally sponsored project of Tides

Advocacy, a California nonprofit benefit corporation. Tides Advocacy has no parent

corporation, and no publicly held corporation owns 10% or more of its stock.

      3.     All other Plaintiffs are individual persons.

      Plaintiffs-Appellees further certify that the following persons have an interest

in the outcome of this case:

      1.     Alicea, Delmarie, Counsel for Plaintiffs

      2.     Beato, Michael, Counsel for Defendant

      3.     Bell, Daniel W., Counsel for Defendant

      4.     Byrd, Cord, Defendant

      5.     Campbell-Harris, Dayton, Counsel for Plaintiffs

      6.     Cepeda Derieux, Adriel I., Counsel for Plaintiffs

      7.     Chappell, David W., Counsel for Defendant

      8.     Cruz, Roberto, Counsel for Plaintiffs

      9.     Darlington, Andrew, Declarant for Defendants
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    10.   Davis, Ashley, Counsel for Defendant

    11.   Doe, A., Plaintiff

    12.   Ebenstein, Julie A., Counsel for Plaintiffs

    13.   Ellis, Rayne, Counsel for Plaintiffs

    14.   Freedman, John A., Counsel for Plaintiffs

    15.   Galindo, Miranda, Counsel for Plaintiffs

    16.   Herrera-Lucha, Verónica, Plaintiff

    17.   Hispanic Federation, Plaintiff

    18.   Jazil, Mohammad O., Counsel for Defendant

    19.   Karpatkin, Jeremy, Counsel for Plaintiffs

    20.   Keenan, Megan C., Counsel for Plaintiffs

    21.   Konor, Estee M., Counsel for Plaintiffs

    22.   Lin Lakin, Sophia, Counsel for Plaintiffs

    23.   Martínez, Norka, Plaintiff

    24.   McNamara, Caroline A., Counsel for Plaintiffs

    25.   McVay, Bradley, Counsel for Defendant

    26.   Moody, Ashley, Defendant

    27.   Morse, Stephanie, Counsel for Defendant

    28.   Poder Latinx, Plaintiff

    29.   Pratt, Joshua E., Counsel for Defendant

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    30.   Preminger, Evan, Counsel for Plaintiffs

    31.   Ruiz, Cesar Z., Counsel for Plaintiffs

    32.   Schenck, Robert S., Counsel for Defendant

    33.   Sjostrom, Noah, Counsel for Defendant

    34.   Tilley, Daniel B., Counsel for Plaintiffs

    35.   Van de Bogart, Joseph S., Counsel for Defendant

    36.   Vargas De-Leon, Fulvia, Counsel for Plaintiffs

    37.   Walker, Mark E., U.S. District Court Judge

    38.   Warren, Nicholas L.V., Counsel for Plaintiffs

    39.   Whitaker, Henry C., Counsel for Defendant




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              STATEMENT REGARDING ORAL ARGUMENT

      This appeal concerns constitutional rights of significant importance—namely,

whether a state can facially discriminate against non-citizens without offering a

compelling basis or narrow tailoring—but the issues raised on appeal may be

resolved on the papers. Fed. R. App. P. 34(a). Plaintiffs-Appellees recognize that

this Court has tentatively scheduled oral argument for the week of January 22, 2024,

as noticed in the consolidated case, Florida State Conference of Branches and Youth

Units of the NAACP v. Byrd, No. 23-12308. Plaintiffs-Appellees in this appeal

welcome the opportunity to participate if the Court determines that oral argument

would help the resolution of this appeal.




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                                INTRODUCTION

      On May 24, Florida passed a law that, on its face, prohibits anyone who is not

a U.S. citizen from “collecting or handling voter registration applications” on behalf

of a voter registration organization, and fines those organizations $50,000 per non-

citizen who handles applications on its behalf. Fla. Stat. § 97.0575(f)(1) (the “Non-

Citizen Ban”). Plaintiffs—two voter registration organizations whose staff and

volunteer base consist primarily of legal permanent residents and other non-citizens

authorized to work in the United States, and three individual non-citizens who are

employed to conduct voter registration—promptly sued and sought an injunction.

On July 3, 2023, the district court preliminarily enjoined enforcement of the Non-

Citizen Ban.

      The district court’s ruling was legally sound and well supported by the facts.

Plaintiffs established a substantial likelihood of success that the Non-Citizen Ban

violates the Equal Protection Clause because the law, on its face, “discriminates on

the basis of alienage,” and Defendants did not come close to showing it could survive

strict scrutiny. ECF 68 at 27–37 (quoting Bernal v. Fainter, 467 U.S. 216, 219

(1984).   The district court also correctly concluded that enforcement would

irreparably harm Plaintiffs: the individual plaintiffs would lose their ability to

register voters, while plaintiff organizations would lose the “vast majority of their




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canvassing workforces” and see their “registration operations [] substantially

interrupted.” Id. at 51–52.

      Defendants’ appeal is exceedingly narrow. Defendants don’t challenge the

district court’s findings about Plaintiffs’ standing, Plaintiffs’ irreparable harm, or the

other injunctive factors. They focus exclusively on the district court’s finding that

the Non-Citizen Ban violated the Equal Protection Clause. In doing so, Defendants

recycle arguments that the district court properly rejected.

      First, Defendants argue that the provision should be reviewed for rational

basis because it applies to “illegal aliens.” But the district court rightly recognized

that this argument only works if one rewrites the statute—which, on its face, applies

to all noncitizens, not merely those who are undocumented. Defendants also ignore,

as the district court recognized, the Supreme Court’s repeated teaching that “a state

law that discriminates on the basis of alienage can be sustained only if it can

withstand strict judicial scrutiny.” Id. at 28 (quoting Bernal, 467 U.S. at 219). And

the district court also properly concluded that the “political function” exception did

not apply to people collecting or handling voter registrations, noting that

Defendants’ effort to expand that “narrow” dispensation would “deviate from”

decades of precedent stretch doctrine “far more broadly than the Supreme Court has

ever permitted.” Id. at 30–33.

      This Court should affirm.

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                       JURISDICTIONAL STATEMENT

       This Court has jurisdiction to consider this appeal under 28 U.S.C. § 1292(a).

See Defs.’ Br. 2 (ECF 21) [hereinafter Br.].

                          STATEMENT OF THE ISSUE

       Whether the district court clearly abused its discretion in concluding that

Plaintiffs were substantially likely to succeed on the merits of their Equal Protection

Clause challenge to a law requiring every person “collecting or handling voter

registration applications” on behalf of voter registration organizations to be a U.S.

citizen.

                          STATEMENT OF THE CASE1

       A.    The Non-Citizen Ban’s Burdensome Provisions

       The Non-Citizen Ban requires that, before engaging in voter registration

activities, a third-party voter registration organization (“3PVRO”) affirms to the

Florida Department of State’s Division of Elections that “each person collecting or

handling voter registration applications on behalf of” the 3PVRO is “a citizen of the

United States.” Fla. Stat. § 97.0575(1)(f).




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  The district court “conclude[d] that Plaintiffs are substantially likely to succeed on
their claim that the citizenship requirement violates the Equal Protection Clause of
the Fourteenth Amendment,” ECF 68 at 37, and did not address Plaintiffs’ remaining
claims. This appeal concerns only the equalprotection claim. Plaintiffs have
accordingly limited their statement of the case to presenting that narrow issue.

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        The Non-Citizen Ban imposes a $50,000 fine on 3PVROs for each violation—

specifically, for “each such person” who collects or handles applications on the

organization’s behalf. Id. It authorizes the Secretary of State to refer any instance

in which he “reasonably believes that a person has committed a violation of this

section” to the Attorney General for enforcement. Id. § 97.0575(8). There is no cap

on the amount that any one organization can be fined for such persons’ assistance,

nor is knowledge of the violation needed for a fine.

        B.    The Non-Citizen Ban’s Severe Impact on Plaintiffs and their Voter
              Registration Activities

        Plaintiffs—Hispanic Federation and Poder Latinx (Organizational Plaintiffs),

and Verónica Herrera-Lucha, Norka Martínez, and Elizabeth Pico (Individual

Plaintiffs)—presented evidence that the Non-Citizen Ban severely burdens their

voter registration activities, and the communities they serve, in at least five distinct

ways.

        First, the Non-Citizen Ban will decimate Organizational Plaintiffs’ voter

registration workforce. Concretely, it will result in Hispanic Federation losing

approximately 70 percent of its canvassers. ECF 32-1 ¶ 24. It will also paralyze

Poder Latinx’s voter registration work, as approximately 90 percent of its staff are

non-citizens. ECF 32-2 ¶ 24. And it will naturally prevent both groups from

employing those people or volunteers to assist in registering voters. The abrupt loss



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of these staff and volunteer non-citizens’ assistance will severely restrict

Organizational Plaintiffs’ effectiveness to promote democratic participation.

      Second, efforts to comply with the Non-Citizen Ban will significantly drain

the Organizational Plaintiffs’ resources in two ways.        First, by depleting the

organizations’ experience and institutional knowledge. And second, by requiring

additional staff time and financial resources to comply. Organizational Plaintiffs

will lose many of their most experienced canvassers: people who have risen to

senior and leadership positions, those who have developed deep relationships with

the communities Plaintiffs serve, and those who train their new canvassers. Id. at

71–72, 85–87.

      The Non-Citizen Ban will also reduce the number of businesses that let

canvassers register voters on their properties, because the staff that local businesses

know and trust can no longer engage in voter registration. Id. at 36, 71–72, 86. If it

takes effect, Organizational Plaintiffs will have to redirect funding that would have

gone to community programming towards hiring, vetting, and training new staff and

volunteers, as well as rebuilding institutional knowledge and relationships. Id. at

76–77, 91. And in preparing for compliance with the Non-Citizen Ban in the weeks

before it was scheduled to take effect, Organizational Plaintiffs had already diverted

resources and suffered concrete harms, including turning down qualified non-citizen

applicants for open positions, redirecting staff time toward developing policies to

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comply with the Non-Citizen Ban, and altering their planning for registering voters

in the 2023 election cycle. ECF 32-1 ¶¶ 28, 33–34, 42; ECF 32-2 ¶¶ 31, 43.

      Third, Organizational Plaintiffs will be forced to take significant additional

measures to ensure their staff and volunteers are citizens, given the Non-Citizen

Ban’s strict liability and $50,000 fine for each non-citizen who handles or collects

voter registration forms. Determining citizenship for any organization is a “complex

inquiry” because of “the fluidity [individuals] may experience with respect to

immigration status.” Gonzalez v. Immigr. & Customs Enf’t, 416 F. Supp. 3d 995,

1004 (C.D. Cal. 2019), rev’d and vacated on other grounds, 975 F.3d 788 (9th Cir.

2020). And because Organizational Plaintiffs would be strictly liable for even

inadvertent violations, they will also have to turn away help from U.S. citizens whose

status cannot be readily verified. For example, Hispanic Federation will no longer

let individuals assist with voter registration efforts unless they can provide proof of

citizenship. That will force Hispanic Federation to turn away even U.S.-citizen staff

and volunteers who cannot (or do not wish to) furnish requisite proof. ECF 32-1

¶¶ 32–33. Likewise, Poder Latinx will sever community-service partnerships that

enabled local student volunteers to register voters, because of the added hurdle of

confirming students’ citizenship statuses. ECF 32-2 ¶¶ 33–34.

      Fourth, the Non-Citizen Ban will harm the communities and constituents

Plaintiffs serve, because they will register substantially fewer citizens to vote.

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Organizational Plaintiffs work closely with Latino citizens to help them register,

relying in part on a network of key community activists who help shape the

organizations’ agendas and who play a critical role in implementing their programs.

For the reasons described above, the severe burden the Non-Citizen Ban places on

the Organizational Plaintiffs will force them to drastically curtail or potentially end

their registration efforts. The Non-Citizen Ban will reduce the political voice of

Latino voters who benefit from these programs. ECF 32-1 ¶¶ 44–45; ECF 32-2

¶¶ 45–47.

      Indeed, in response to the Non-Citizen Ban’s threat of civil penalties, some

organizations   considered    halting   voter    registration   activities   altogether.

Organizational Plaintiffs’ largest funders have already said they will withhold

donations earmarked for voter registration efforts in Florida because of the threat of

costly fines. ECF 32-1 ¶ 37; ECF 32-2 ¶ 38. Moreover, even if Organizational

Plaintiffs do not cease these activities, they will significantly scale back the volume

of voter registration drives they conduct, because most of their experienced staff and

volunteers will be banned from participating. ECF 32-1 ¶¶ 39–42; ECF 32-2 ¶¶ 39–

42.

      Fifth, the Non-Citizen Ban will impose devastating personal and professional

consequences on the Individual Plaintiffs. For example, Plaintiff Herrera-Lucha has

been a lawful permanent resident since 2007 and Florida resident since 2016. ECF

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66-1 ¶ 2. She obtained a law degree in El Salvador and a master’s degree in

international law in Spain. Id. ¶ 4. She is currently employed as the Florida State

Field Director for Mi Vecino, Inc., a 3PVRO, and oversees that organization’s voter

registration activities. Id. ¶¶ 8–10. Ms. Herrera-Lucha is paid $55,000 per year for

this work, which she uses to support four family members. Id. ¶ 11. Her work

enables her to serve her community, raise awareness about Spanish-speaking

candidates, and increase the number of registered eligible voters, including former

residents of Puerto Rico who moved to Florida after Hurricane Maria and haven’t

registered to vote. Id. ¶ 25. If the Non-Citizen Ban takes effect, Plaintiff Herrera-

Lucha cannot retain this role, which will harm her career and financially impact her

ability to provide for herself and her family. Id. ¶¶ 19–21.

      The other Individual Plaintiffs—Norka Martínez and Elizabeth Pico

(previously, A. Doe), both of whom came to the United States from Venezuela and

now hold Temporary Protected Status and work authorization here (ECF 66-2 ¶¶ 5–

7; ECF 66-3 ¶¶ 5–8)—will likewise suffer serious harms if the Non-Citizen Ban

takes effect. Plaintiff Martínez has health issues that limit her physical activity. Her

work as a canvasser has enabled her to support her family while caring for her

wellbeing. If the Non-Citizen Ban takes effect, she will no longer be able to work

as a canvasser, depriving her of means to support her family in a manner consistent

with her physical limitations. ECF 66-2 ¶¶ 18, 20–21. Likewise, the Non-Citizen

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Ban will deprive Plaintiff Pico of her main source of income and the ability to

conduct meaningful voter-registration work that supports her community. ECF 66-

3 ¶¶ 23–25. Because Individual Plaintiffs cannot vote as non-citizens, the Non-

Citizen Ban further stops them from ensuring that their communities receive

adequate representation through meaningful civic and community work. ECF 66-1

¶¶ 24–25; ECF 66-2 ¶¶ 22–23; ECF 66-3 ¶¶ 25–26.

      C.     Plaintiffs’ Challenge to the Non-Citizen Ban

      Seeking to prevent these serious harms, Plaintiffs filed this action challenging

the Non-Citizen Ban under the First and Fourteenth Amendments and federal civil

rights laws. ECF 1; see also ECF 79. The complaint alleged that the provision

severely burdens and chills their constitutionally protected voter registration

activities; that it is impermissibly vague and overbroad; that it unconstitutionally

interferes with the fundamental right to vote; and that it unlawfully abridges the

Individual Plaintiffs’ right to make and enforce contracts under 42 U.S.C. § 1981.

Id. at 99–109, 112–14.

      Most relevant here, the Plaintiffs alleged that the provision violates the Equal

Protection Clause by discriminating on the basis of citizenship status. Id. at 109–12.

For instance, all three Individual Plaintiffs are lawfully present in the United States

and authorized to work. Id. at 109–10. Yet all three stand to lose their jobs as

canvassers engaged in voter registration if SB7050 takes effect. Id. Plaintiffs


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accordingly explained that strict scrutiny applies to the Non-Citizen Ban, as it

explicitly discriminates against all non-citizens and does not implicate the narrow

political-function exception. Id. at 110–11. And SB7050 plainly fails strict scrutiny.

It serves no compelling interest, nor is it narrowly tailored to achieve government

aims. Id. at 111–12.

      On June 8, 2023, Plaintiffs filed an emergency motion to preliminarily enjoin

the Non-Citizen Ban before it took effect on July 1, 2023. ECF 32. Plaintiffs

explained their likelihood of success on the merits and described the serious,

irreparable harm they would experience absent an injunction, including the loss of

opportunities to register voters and engage in protected speech. See id. at 13–23; see

also supra, Statement of the Case, § B. Plaintiffs also highlighted that the draconian

fines imposed on 3PVROs who employed non-citizens violated the First and

Fourteenth Amendments, ECF 32 at 25–41, and would require the Plaintiffs (three

individuals who are non-citizens employed by 3PVROs, and two organizations

whose registration teams are 70% and 90% non-citizen respectively) to terminate or

significantly curtail their voter registration activities.   Id. at 13–23.    Finally,

Plaintiffs argued that an injunction would serve the public interest by preserving an

important path to voter registration and would not harm the State in any way. Id. at

41–42.




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      D.     The District Court Enjoins Enforcement of the Non-Citizen Ban

      On July 3, 2023, the district court granted the preliminary injunction. ECF 68.

The district court specifically found that Plaintiffs “carried their burden as to all four

of the preliminary injunction factors with respect to their equal protection and

vagueness claims.” Id. at 52.

       The Court found that the case did not meet the “extraordinary and narrow”

parameters for Burford abstention. Id. at 8. It explained that Defendants couldn’t

show that the Court’s resolution of constitutional claims “would in any way interfere

with an ‘ongoing administrative proceeding or action,’” that Plaintiffs’ “discrete

challenges to one of Florida’s laws regulating 3PVROs does not threaten to

undermine all—or even a substantial part—of the state’s regulatory scheme,” and

that Defendants had not explained how agency rulemaking could “cure an otherwise

unconstitutional statute.”2 Id. at 8–10. The district court found that both sets of

Plaintiffs had standing to challenge Section 97.0575(1)(f): the Individual Plaintiffs

were “injured directly,” because, as non-citizens, the provision “directly interferes

with their employment,” Id. at 15–19, and the Organizational Plaintiffs “set out with




2
 Defendants do not appeal from the district court’s ruling on Burford abstention.
Rulemaking proceeded apace after the district court’s preliminary injunction. See
Fla. Admin. Code. R. 1S-2.042 (Sept. 26, 2023) (final rule adopted and published).

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precision the imminent injuries they face based on the challenged provision.” Id. at

21 n.10; see supra, Statement of the Case, § B.

      On the merits, the district court noted that “Defendants do not dispute that the

citizenship requirement, on its face, discriminates against all noncitizens,” and that

a law “that discriminates on the basis of alienage can be sustained only if it can

withstand strict judicial scrutiny.” ECF 68 at 28. The Court rejected Defendants’

argument that it should apply “varying levels of scrutiny” of the statute to different

classes of non-citizens based on their legal status because, on its face, the statute did

not distinguish between non-citizens in this manner. Id. at 28–30.

      The Court found that the “political function” exception allowing restrictions

based on alienage did not apply to Section 97.0575(1)(f). Id. at 30–33. It concluded

that individuals collecting information on behalf of 3PVROs were not “exercis[ing]

broad discretionary power over the formulation or execution of public policies” as

“those who collect and handle completed applications aren’t vested with discretion

or engage in policy making.” Id. at 31–33. Ultimately, the law had hallmarks of

being “fatally underinclusive,” because non-citizens are not categorically barred

from working as mail carriers or employment by the State of Florida in positions

that involve handling registration applications. Id.

      Defendants did not “attempt to demonstrate how the citizenship requirement

satisfies strict scrutiny.” Id. at 34. Nor did they identify “connective tissue” between

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the problem of untimely submitted voter registration applications, which occurs

regardless of the citizenship of the person collecting applications, “and the state’s

proposed solution—namely, banning all noncitizens from collecting or handling

voter registration applications on behalf of 3PVROs.” Id. at 35–36. The Court

further found that Section 97.0575(1)(f) was “not the least restrictive means” to

address timely voter application submissions.

      Having considered Plaintiffs’ evidence of harm, the district court also made

factual findings about Plaintiffs’ “concrete injuries”—namely, “the disruption to

their employment, their livelihoods, and their mission to register voters on behalf of

the organizations they work for” (id. at 19)—and the irreparable harm they faced,

absent injunctive relief. The district court found that the Non-Citizen Ban “facially

discriminates against these Plaintiffs because they are noncitizens, forces them to

halt their efforts to communicate with would-be voters and properly register as many

applicants as possible for fear of incurring devastating liability for their employers,

and directly interferes with their employment.” Id. “[A]bsent an injunction,” the

district court explained, “Plaintiffs will suffer irreparable injury because their voter

registration operations will be substantially interrupted once the challenged

provisions take effect.” Id. at 51.

      “For example,” the district court underscored, “the Organizational Plaintiffs

stand to lose the ability to have their noncitizen canvassers—in some instances, the

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vast majority of their canvassing workforces—continue collecting or handling voter

registration applications, thus limiting their ability to register new voters, or

immobilizing their voter registration efforts altogether, until they can recruit and hire

new employees and volunteers.”          The Individual Plaintiffs would be likewise

directly harmed, because they are “explicitly banned from collecting or handling

voter registration applications, thus extinguishing their opportunities to directly

register new voters.” Id. at 51 (citing League of Women Voters of Fla. v. Browning,

863 F. Supp. 2d 1155, 1167 (N.D. Fla. 2012) (“[W]hen a plaintiff loses an

opportunity to register a voter, the opportunity is gone forever . . . . If an injunction

does not issue now, there will be no way to remedy the plaintiffs’ continuing loss

through relief granted later in this litigation.”)).

       Finally, the district court found that the injunction was not adverse to the

public interest and outweighed any damage to the State. Id. at 52.

                             STANDARD OF REVIEW

       This Court reviews a preliminary injunction ruling under a demanding

standard, for clear abuse of discretion. BellSouth Telecomms., Inc. v. MCIMetro

Access Transmission Servs., LLC, 425 F.3d 964, 968 (11th Cir. 2005). Reversal is

proper “only if the district court applies an incorrect legal standard, or applies

improper procedures, or relies on clearly erroneous factfinding, or if it reaches a




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conclusion that is clearly unreasonable or incorrect.” Schiavo ex rel. Schindler v.

Schiavo, 403 F.3d 1223, 1226 (11th Cir. 2005).

      A district court may grant an injunction when: (1) the movant has a substantial

likelihood of success on the merits; (2) the movant will suffer irreparable injury

unless the injunction issues; (3) the threatened injury to the movant outweighs

whatever damage the injunction may cause the opposing party; and (4) the injunction

is not adverse to the public interest. Klay v. United Healthgroup, Inc., 376 F.3d

1092, 1097 (11th Cir. 2004).

                          SUMMARY OF ARGUMENT

       The district court did not abuse its discretion when it found Plaintiffs are

 likely to succeed on the merits of their Equal Protection Clause challenge to the

 Non-Citizen Ban. The Non-Citizen Ban is properly reviewed by means of strict

 scrutiny because it prohibits individuals from collecting and handling voter

 registration applications based on their alienage, a protected class.

       In claiming that Plaintiffs must show that there is no set of circumstances

 under which the Non-Citizen Ban could ever pass constitutional muster, Defendants

 wrongly invoke United States v. Salerno and attack a strawman. There are no

 grounds to claim that varying levels of scrutiny ought to apply to different

 subgroups of immigrants because those subgroups “exist nowhere in the statute.”

 ECF 68 at 28. The statute prohibits all non-citizens from collecting or handling


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voter registration applications. Accordingly, the district court correctly considered

whether this classification—and not any other hypothetical configuration of it—

can overcome strict scrutiny. In any event, this Court may easily dispense with

Defendants’ argument under Salerno, which was never raised before the district

court and was therefore waived.

      The district court properly rejected Defendants’ other attempt to circumvent

strict scrutiny review by holding that the political-function exception is

inapplicable. Individuals who collect and handle completed voter registration

applications do not engage in policymaking, nor are they vested with the degree of

discretion that would trigger such an exception. Within the voter registration

process, non-citizens do not have discretionary power over sensitive areas of life.

Further, as Defendants concede, non-citizens can access the same personal

information on voter registration forms while performing comparable roles as

trusted government employees.         Yet, the Non-Citizen Ban prohibits these

individuals from accessing the same information when working for a 3PVRO.

Thus, the district court correctly concluded that the ban was underinclusive and that

strict scrutiny must apply.

      Under strict scrutiny, Defendants have yet to offer a compelling state interest

to justify barring non-citizens from handling and collecting voter registration forms.

And even if one were to accept Defendants’ proffered state interest as compelling,

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they haven’t shown how the Non-Citizen Ban is properly tailored to further

Florida’s interest in the timely submission of voter registration applications.

Defendants didn’t point to evidence suggesting that non-citizens “have such a

fleeting presence in this country as to justify” the Non-Citizen Ban, nor do they

offer a semblance of “connective tissue between the problem and the state’s

proposed solution.” Id. at 34–35. The district court did not err.

      Finally, the district court also correctly determined that the remaining

preliminary injunction factors weigh in favor of granting Plaintiffs’ motion. Absent

an injunction, Plaintiffs will suffer irreparable harm from the extinguished

opportunities to directly register new voters. The balance of equities also favors

Plaintiffs. Reversing the injunction would subject them to excessive fines, loss of

essential staff, loss of funding, and for Individual Plaintiffs, the loss of economic

opportunities. Moreover, the injunction serves the public interest by registering

voters in marginalized communities and preventing infringement of Plaintiffs’

constitutional rights.

      This Court should affirm the district court’s order granting a preliminary

injunction.




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                                    ARGUMENT

I.    The District Court Did Not Abuse Its Discretion in Finding Plaintiffs Are
      Likely to Succeed on the Merits.

      A.        Strict scrutiny applies because the Non-Citizen Ban targets people
                based on their alienage, a suspect class.

      The Fourteenth Amendment protects all persons within the United States. It

applies to all aliens. Plyler v. Doe, 457 U.S. 202, 215 (1982); Yick Wo v. Hopkins,

118 U.S. 356, 369 (1886). The Supreme Court has accordingly long held that states

cannot categorically discriminate on the basis of alienage. “[T]he power of a state

to apply its laws exclusively to its alien inhabitants as a class is confined within

narrow limits.” Takahashi v. Fish & Game Comm’n, 334 U.S. 410, 420 (1948)

(emphasis added).

      Blanket alienage-based classifications by a State, therefore, are “inherently

suspect and subject to close judicial scrutiny.” Graham v. Richardson, 403 U.S.

365, 372 (1971). So strict scrutiny—not rational basis review—is appropriate to

review a law, like this one, that facially discriminates on the basis of alienage. See

Nyquist v. Mauclet, 432 U.S. 1, 7 (1977) (“Alienage classifications by a State that

do not withstand this stringent examination cannot stand.”); Dandamudi v. Tisch,

686 F.3d 66, 73 (2d Cir. 2012) (“[L]aws that single out aliens for disparate treatment

are presumptively unconstitutional absent a showing that the[y] [meet strict

scrutiny].”).     To meet it, the State must “show that its purpose . . . is both


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constitutionally permissible and substantial, and that its . . . classification is

‘necessary . . . to the accomplishment’ of its interest.’” In re Griffiths, 413 U.S. 717,

721–22 (1973).

       Defendants cannot dodge strict scrutiny’s application. To start, they concede

that strict scrutiny applies to laws that discriminate against permanent resident

aliens. Br. 16–17. That admits that strict scrutiny applies to the Non-Citizen Ban’s

restriction on Individual Plaintiffs like Ms. Herrera Lucha and many of the

Organizational Plaintiffs’ employees and volunteers. See, e.g., ECF 32 at 36–39;

ECF 62 at 8; ECF 66-1 ¶ 2.

       But Defendants refuse to engage with the relevant legal framework or even

attempt to defend the actual text of the Non-Citizen Ban as written. Instead, they

insist that, in a facial challenge, the Court must engage in a speculative thought

experiment, considering hypothetical levels of scrutiny that might apply to distinct

classes of aliens if the statute had been drafted differently. For example, Defendants

say: if the provision had been drafted based on a classification of “illegal aliens,” it

would be subject to “rational basis” review. Br. 12–16.3 Defendants assert that this

type of hypothetical parsing 4 is appropriate because, in alienage cases, “the level of


3
 Insofar as the State argues that strict scrutiny wouldn’t apply to non-citizens with
unlawful status, they ignore the fact that none of the plaintiffs belong to that subclass.
4
    Defendants acknowledge the hypothetical nature of parsing they propose by

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scrutiny ebbs and flows based on the kind of alien,” and that “[c]hoosing one, and

only one, level of scrutiny . . . isn’t appropriate when a statute speaks in terms of

citizens and noncitizens.” Br. 16.

       The State’s attempt to end run strict scrutiny fails for two reasons. First,

Defendants misstate the law governing facial challenges. And second, the State

cannot cite precedent that applies—or even considers—the hypothetical parsing

approach they propose.

                 i. Defendants’ Salerno argument is wrong.

       Defendants point to the Supreme Court’s discussion of facial challenges in

United States v. Salerno as support for applying a lower level of scrutiny to the Non-

Citizen Ban. But their Salerno argument is wrong.5 Put simply, their “claim” that,

under Salerno, Plaintiffs “need[] to show that the law is invalid in all

circumstances,” real or hypothetical, “misstates the law governing facial




stating, in a footnote, that it would be “easier” to determine the relevant level of
scrutiny “if a statute were to specifically state that permanent residents cannot do
something or to limit its reach to illegal aliens only . . . But that is not the case here.”
Br. 16, n.3 (citation omitted).
5
 Defendants’ argument under Salerno is also waived. Defendants did not raise it
below and it is accordingly not properly before the Court. See Ramirez v. Sec’y U.S.
Dep’t of Transp., 686 F.3d 1239, 1249 (11th Cir. 2012) (“It is well-settled that [the
Court] will generally refuse to consider arguments raised for the first time on
appeal.”).

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challenges.” Club Madonna Inc. v. City of Miami Beach, 42 F.4th 1231, 1256 (11th

Cir. 2022) (emphasis added).

      To start, as Defendants themselves acknowledge, the Supreme Court has

repeatedly “criticized” and declined to apply the same categorical gloss on Salerno

that Defendants urge this Court to follow. Br. 13–14. Understandably so. The “no

set of circumstances” language in Salerno that Defendants’ argument hinges on is

dictum—“unsupported by citation or precedent” and “unnecessary to the holding in

the case.” Janklow v. Planned Parenthood, Sioux Falls Clinic, 517 U.S. 1174, 1175

(1996) (Stevens, J., respecting denial of cert.). It has, in turn, “never been the

decisive factor in any decision of th[e] [Supreme] Court.” City of Chicago v.

Morales, 527 U.S. 41, 55 n.22 (1999) (plurality op.). Rather, the Court has “properly

ignored [it] in subsequent cases.” Janklow, 517 U.S. at 1175; see also id. n.3

(collecting cases); United States v. Frandsen, 212 F.3d 1231, 1235 n.3 (11th Cir.

2000) (noting Supreme Court “has not [] consistently followed” so-called “rule” and

collecting cases).

      In any event, Defendants misconstrue the facial-challenge test that can be

correctly gleaned from Salerno.      Properly understood, in the equal-protection

context, the Salerno framework asks whether no set of facts can justify the

classification made. It doesn’t ask whether the law could be justified had it

hypothetically been drafted differently or more narrowly formatted. See City of Los

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Angeles v. Patel, 576 U.S. 409, 418–19 (2015) (“[W]hen assessing whether a statute

meets this standard, the Court has considered only applications of the statute in

which it actually authorizes or prohibits conduct.”).

      Instead, Defendants’ proposed Salerno application to the Non-Citizen Ban

asks the Court to “divorce[] review of the constitutionality of [the] statute from the

terms of the statute itself, and . . . engage in hypothetical musings about potentially

valid applications of the statute.” Doe v. City of Albuquerque, 667 F.3d 1111, 1123

(10th Cir. 2012); see also Club Madonna, 42 F.4th at 1256. Put simply: nothing in

Salerno requires the Court to rewrite the statute or limit it to a far narrower,

hypothetically constitutional classification. Because the Florida Legislature here

chose to facially distinguish between persons who are a “citizen of the United States

of America” and those who are “not a citizen,” Fla. Stat. §97.0575(1)(f), the Court

has to evaluate that classification, not some hypothetical application of the law to a

narrower subgroup of individuals.

      Indeed, Defendants ask the Court to deploy a version of the “Salerno rule”

that it already declined to follow. In Club Madonna, this Court rejected the view

that plaintiffs mounting a facial attack must “prove that there is no hypothetical

situation in which [a challenged law] could be validly applied.” 42 F.4th at 1256

(emphasis added). Rather, it explained, “the question that Salerno requires [the




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Court] to answer is whether the statute [as written] fails the relevant constitutional

test.” Id. at 1257.

      As Doe—which Club Madonna relied upon—explained: Salerno’s “no set of

circumstances” language is “accurately understood not as setting forth a test for

facial challenges, but rather as describing the result of a facial challenge in which a

statute fails to satisfy the [proper] constitutional standard.” 667 F.3d at 1127. Courts

“appl[y] the relevant constitutional test to the challenged statute, without trying to

dream up whether or not there exists some hypothetical situation in which

application of the statute might be valid.” Bruni v. City of Pittsburgh, 824 F.3d 353,

363 (3d Cir. 2016). And “where a statute fails the relevant constitutional test (such

as strict scrutiny . . .), it can no longer be constitutionally applied to anyone—and

thus there is ‘no set of circumstances’ in which the statute would be valid.’” Doe,

667 F.3d at 1127 (collecting cases); see also Club Madonna, 42 F.4th at 1256 (“the

question that Salerno requires us to answer is whether the statute fails the relevant

constitutional test”).

      So here. As described infra, Defendants flunk the proper constitutional test,

because they “do not even attempt to demonstrate how the citizenship requirement

satisfies strict scrutiny.” ECF 68 at 34. As below, “Defendants point to no record

evidence indicating that noncitizens, as a class, have such a fleeting presence in this




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country as to justify a wholesale ban on their collecting or handling voter registration

applications.” Id.

      Defendants conspicuously cite no case that applies the test in the manner they

suggest. And indeed, Defendants’ proposed Salerno test (i.e., asking whether any

person/subset within the targeted class could be lawfully prohibited from engaging

in the conduct at issue) would lead to plainly absurd results. Take, for example, a

law that declares: “Black people cannot vote in state or federal elections.” Of course,

some Black people cannot vote for reasons other than their race (e.g., they are under

the age of 18, they are non-citizens, etc.), and the State can lawfully prohibit them

from voting. But under Defendants’ formulation of the Salerno test, a set of

circumstances exists in which each of these laws would be valid, and so neither law

would facially violate the Fourteenth Amendment’s Equal Protection Clause. This

Court should decline Defendants’ invitation to employ a rule that would produce

outlandish results.

                ii. Defendants’ citation to cases examining narrower statutory
                    classifications has no bearing on the analysis here.

      Contrary to Defendants’ suggestion, Supreme Court precedent doesn’t

“counsel[]” this Court to “judicially craft[] a subset of aliens, scaled by how [it]

perceive[s] the aliens’ proximity to citizenship.” Dandamudi, 686 F.3d at 76–77

(citation and quotation marks omitted). The Supreme Court’s “precedent supports



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[] a distinction among aliens only as between lawfully admitted [ones] and those

who are in the United States illegally.” Id (emphasis added).

      None of the cases involving non-citizens’ equal protection claims that

Defendants cite (Br. 16–17) support their suggestion that anything other than strict

scrutiny applies. Defendants begin by acknowledging that the statute as written

excludes “[a]ll noncitizens” from collecting or handling voter registration

applications “regardless of their alienage status.” Br. 14. So far, so good. But the

State then ignores the statute’s actual text to highlight the standard of review that

might apply to a statute that targets immigrants not legally in the United States—a

classification nowhere found in the Non-Citizen Ban. Id. To do this, Defendants

chiefly rely on two cases—Estrada v. Becker, 917 F.3d 1298 (11th Cir. 2019), and

LeClerc v. Webb, 419 F.3d 405 (5th Cir. 2005)—for the proposition that “every time

the government excludes a non-permanent resident from collecting or handling a

voter registration application, the government must provide only a rational basis for

that exclusion.” Br. 14.

      Defendants’ reliance on LeClerc and Estrada is misplaced. In each, the

reviewing court analyzed the challenged statute as written. It didn’t engage in—or

even consider—the hypothetical parsing Defendants propose. In LeClerc, the Fifth

Circuit reviewed a statute that specifically required applicants for admission to the

Louisiana bar to be either citizens or resident aliens. 419 F.3d at 410. The court

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applied rational basis review to an equal-protection challenge brought by aliens “not

entitled to live and work in the United States permanently” who had been excluded

from admission to the bar. Id. at 410, 415. But understandably, LeClerc’s analysis

focused on whether the specific group targeted by the challenged statute—as

drafted—represented a suspect class. Id. at 419. Indeed, LeClerc contrasted the

more targeted ban at issue there with the “‘total exclusion of all aliens from the

practice of law’” deemed a “‘wholesale ban’” and “constitutionally infirm” by the

Supreme Court in Griffiths. Id. at 415 (quoting Griffiths, 413 U.S. at 719). Of

course, here, Florida has enacted a “wholesale ban” on the basis of alienage. So as

LeClerc itself explains, this case is thus closer to Griffiths, not LeClerc.

      In LeClerc, the Fifth Circuit did consider the ways in which resident aliens

“are similarly situated to citizens” and noted that the status of aliens not entitled to

live and work in the United States permanently “is far more constricted than that of

resident aliens.” Id. at 418–19. But its consideration of the characteristics of those

alien subclassifications mirrored the classifications in the statute being challenged.

LeClerc, therefore, does support the type of hypothetical parsing Defendants

propose.

      Similarly, this Court’s decision in Estrada provides no support for

hypothetical parsing among subclasses of aliens. In Estrada, this Court applied

rational basis review to an equal-protection challenge of a Georgia policy requiring

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“selective colleges and universities to verify the ‘lawful presence’ of all the students

they admit.” 917 F.3d at 1301–10. That policy was directed at any person “who is

not lawfully in the United States,” which the policy defined to include Deferred

Action for Childhood Arrivals (DACA) recipients, but which did not include lawful

permanent residents. Id. at 1301–02. Once again, the Court’s consideration of

whether a subclassification of aliens represented a suspect class mirrored the

classification specified by the text of challenged statute. Id.

      B.     The political-function exception to strict scrutiny does not apply to
             the Non-Citizen Ban.

      The district court also correctly rejected Defendants’ next contention (Br. 17–

21): that the Non-Citizen Ban falls within the “narrow political-function exception”

to the “rule that discrimination based on alienage triggers strict scrutiny.” Bernal,

467 U.S. at 220–21.      Courts apply a two-part test when deciding whether a

citizenship-based restriction falls within the political-function exception’s ambit. It

asks whether the law: (1) is “sufficiently tailored,” such that it is not overinclusive

nor underinclusive, and (2) applies “only to ‘persons holding state elective or

important nonelective executive, legislative, and judicial positions’”—that is, only

to “officers who ‘participate directly in the formulation, execution, or review of

broad public policy.’” Id. at 221–22 (quoting Cabell v. Chavez-Salido, 454 U.S.

432, 440 (1982)) (citations omitted). The political-function exception is accordingly

cabined to roles that “routinely exercise discretionary power” of the state, “plac[ing]
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them in a position of direct authority over other individuals,” like probation officers,

teachers, or police. Id. It “recogni[zes] the authority of the people of the States to

determine the qualifications of their most important government officials.” Gregory

v. Ashcroft, 501 U.S. 452, 463 (1991).

       As the district court concluded, the statute, at minimum, fails the second

prong of the Bernal test. To the extent that Defendants find the political-function

test “difficult to apply in particular cases,” Br. 18 (quoting Cabell, 454 U.S. at 440),

its application here is actually straightforward, because the Non-Citizen Ban “does

not apply only to persons holding state elective or important nonelective executive,

legislative, and judicial positions and, thus, participating directly in the formulation,

execution, or review of broad public policy.” ECF 68 at 32. “Without dispute,

3PVRO staff, members, and volunteers are not public employees of any branch of

state government. Nor do they participate directly in the formulation, execution, or

review of broad public policy.” Id. And “Defendants expressly concede that ‘those

who collect and handle completed applications aren’t vested with discretion or

engage in policy making.’” Id. at 33 (quoting ECF 60 at 28).

      Accordingly, the “political function” exception does not apply here—“[f]ull

stop.” Id. Defendants’ “request runs counter to the Supreme Court’s admonition

that ‘the political-function exception must be narrowly construed; otherwise the

exception will swallow the rule and depreciate the significance that should attach to

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the designation of a group as a ‘discrete and insular’ minority for whom heightened

judicial solicitude is appropriate.’” Id. (quoting Bernal, 467 U.S. at 222 n.7)

(emphasis added). The district court was right to reject Defendants’ attempt to

“deviate from settled law and construe this exception far more broadly than the

Supreme Court has ever permitted.” Id.

      On appeal, Defendants leave concerns about departing from settled precedent

on the narrow political-function exception unaddressed. Instead, they re-hash the

same arguments that failed in Bernal. According to the State, the Non-Citizen Ban

“go[es] to the heart of representative government[,]” Bernal, 467 U.S. at 225,

because non-citizens working for 3PVROs are “cogs” in Florida’s election system,

and elections are integral to representative democracy. Br. 21. But in Bernal, Texas

likewise argued that notaries “perform functions that ‘[went] to the heart of

representative government,’” to support its ban on non-citizen notaries. 467 U.S. at

223. Still, the Supreme Court explained: “The focus of [the] inquiry [is] whether a

position” provides someone “broad discretionary power over the formulation or

execution of public policies importantly affecting the citizen population,” like

teachers or state officers.6 Id. at 223–25.


6
 All told, the Supreme Court has only said that Bernal’s political-function exception
to strict scrutiny applies to laws excluding noncitizens from employment or work as:
police officers (Foley v. Connelie, 435 U.S. 291 (1978)); teachers (Ambach v.
Norwick, 441 U.S. 68 (1979)); probation officers (Cabell, 454 U.S. at 442); and

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      Individuals collecting and handling voter registration forms lack the kind of

discretion that Bernal and related cases say is needed for the political-function

exception to apply. They in no way “exercise the State’s monopoly of legitimate

coercive force,” or “the wide discretion typically enjoyed by public school teachers

[in] present[ing] materials that educate youth.” Bernal, 467 U.S. at 225. Nor are

they “clothed with authority to exercise [] almost infinite [] discretionary powers . . .

involving the most sensitive areas of daily life.” Id. at 220 (quoting Foley v.

Connelie, 435 U.S. 291, 297 (1978)). Nor, for that matter, do they have discretion

“that places them in a position of direct authority over other individuals.” Id.

Bernal’s second prong accordingly cannot be met. See Foley, 435 U.S. at 296

(noting exception applicable in context of “policy responsibilities . . . the

discretionary exercise of which can . . . immediately affect the lives of citizens”).

      Cervantes v. Guerra—a pre-Bernal case upholding a prohibition that

restricted non-citizens from serving on or voting for the board of directors of a hybrid

public-private agency that was governmentally designated to reduce the causes of

poverty in the United States—does not help the Defendants. See Br. 19, 20 (citing

651 F.2d 974, 976–76, 981 (5th Cir. 1981)). In upholding the ban on non-citizens’

ability to vote, the Eleventh Circuit read the Supreme Court’s decision in Skafte v.



elective public office, but not civil service (Sugarman v. Dougall, 413 U.S. 634
(1973)).

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Rorex as “holding that voting in a public election is always within the political

functions exception,” and concluded that, “when the Supreme Court speaks clearly,

we are bound to obey.” Cervantes, 651 F.2d at 981 (citing Skafte, 430 U.S. 961

(1977) (dismissing challenge to law banning non-citizens from voting in elections

to a local school board for want of a substantial federal question)). And as for the

ban on non-citizens’ ability to serve on the board of directors, the court concluded

that “the members of [the agency’s] board of directors create policy and exercise

discretion,” including among other things to “design and carry out programs tailored

to the needs of the poor as they perceive them.” Id. at 981–82. That is plainly within

the political-function exception’s scope, because the role involved precisely the kind

of discretion that Bernal subsequently suggested might satisfy the test’s second

prong. See 467 U.S. at 223–24 (“The focus of our inquiry has been whether a

position was such that the officeholder would necessarily exercise broad

discretionary power over the formulation or execution of public policies importantly

affecting the citizen population.”). Rather than suggest the district court got it

wrong, Cervantes reinforces the court’s analysis.7

      Plaintiffs here act nothing like the agency in Cervantes. The non-citizens who

handle and collect voter registration forms do not have—let alone exercise—


7
  To the extent anything in Cervantes conflicts with the Supreme Court’s later-in-
time decision in Bernal, Bernal governs.

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discretionary state power. They engage their communities as private actors and

perform a non-discretionary act subject to strict regulation and oversight by the state,

consisting of providing eligible citizens with state-prescribed forms, helping to

ensure that eligible citizens correctly complete those state-prescribed forms, and

then returning those forms to state actors on a tight, state-mandated timeline. As

such, the political-function exception does not apply and strict scrutiny is

appropriate.

      Though the district court did not reach a conclusion on the Bernal test’s first

prong, the statute also fails that requirement. The Non-Citizen Ban is insufficiently

tailored to achieve its goals, because it is underinclusive.8 As Defendants conceded

below (and maintain here, Br. 29), “postal workers also collect and handle voter

registration applications submitted by mail, and noncitizens are allowed to be postal

workers.” ECF 68 at 31. The district court also recognized that “Defendants had no

response to Plaintiffs’ argument that noncitizens are also permitted to serve on

Florida’s Elections Commission and work for other state agencies.” Id. Because

“employees of several state agencies are also responsible for handling completed

voter registration applications, and the State of Florida apparently has not decided


8
  The Supreme Court has previously found a similar citizenship-based restriction
both overinclusive and underinclusive. See Sugarman, 413 U.S. at 642 (“It is at once
apparent, however, that [the State’s] asserted justification proves both too much and
too little.”).

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to exclude all noncitizens from these positions,” id., the law is insufficiently tailored.

See, e.g., Sugarman v. Dougall, 413 U.S. 634, 643 (1973) (law banning non-citizens

from holding a position as “typist” or “office worker,” within the context of a broader

scheme that included “no citizenship restrictions” for “persons holding elective and

high appointive offices,” was too “imprecis[e]” to “withstand close judicial

scrutiny”).

      On this point, the State argues—for the first time on appeal—that the Law is

not underinclusive because 3PVROs are the only non-government entities

authorized to collect and handle voter registration forms. Br. 29. That is a hollow

distinction. Whether a discriminatory law is underinclusive does not turn on whether

non-citizens’ employer is a public or private actor.          Instead, underinclusivity

concerns whether the State specifies “only one particular post with respect to which

the State asserts a right to exclude aliens” while allowing noncitizens to perform

other similar functions. Bernal, 467 U.S. at 222–23. Here, there is no dispute that

non-citizens can access the exact same information on voter registration forms while

serving in government offices: Defendants concede the point. See Br. 19 (“[P]ostal

workers and state employees can handle voter registration forms without every




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postal worker or state employee being a citizen.”). As such, the Non-Citizen Ban is

not sufficiently tailored to achieve the State’s purported goals. 9

      C.     The Non-Citizen Ban flunks strict scrutiny.

      Defendants haven’t offered a compelling state interest to justify barring non-

citizens as a class from handling and collecting voter registration forms. Instead,

before the Non-Citizen Ban’s enactment, legislators only used imprecise rhetoric,

including testimony that the law (which applies equally to all non-citizens) was

meant to target “illegal[s].” 10 See ECF 32 at 34. Separately, the restriction’s sponsor

leaned on the sweeping and unremarkable view that “there are certain rights in our


9
  The State suggests that the Non-Citizen Ban is not substantially overinclusive
because it is limited to non-citizens who collect or handle voter registration forms.
Br. at 19. But whether a regulation is overinclusive turns on the “range of offices
and occupations” it implicates, not how many actions it prohibits. Bernal, 467 U.S.
at 222. The law here “indiscriminately sweep[s] within its ambit” all non-citizens
involved in collecting or handling voter registration forms, implicating a variety of
roles at 3PVROs. Id. Positions from State Field Directors—like individual plaintiff
Herrera-Lucha, ECF 66-1 ¶¶ 8–10—to canvassers like Norka Martínez, ECF 66-2
¶ 11, and others at 3PVROs, ECF 66-3 ¶ 14, are implicated by the Non-Citizen Ban.
Simply put, the Non-Citizen Ban is overinclusive because it fails to “specif[y] only
one particular post” that “the State asserts a right to exclude” non-citizens from.
Bernal, 467 U.S. at 222. Instead, it prohibits non-citizens from an unspecified
number of occupations, which the Supreme Court has previously found unlawful.
See, e.g., Sugarman, 413 U.S. at 642 (invalidating a statute that barred non-citizens
from employment in permanent civil service positions).
10
   “[A] bare [] desire to harm a politically unpopular group,” Dep’t of Agric. v.
Moreno, 413 U.S. 528, 534 (1973), of course, cannot serve “legitimate state
interests,” Lawrence v. Texas, 539 U.S. 558, 580 (2003) (O’Connor, J.,
concurring)—especially when the challenged law sweeps more broadly than that
group alone.

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country that only citizens get to enjoy.” Id. That was the extent of any alleged

justification for the provision: the legislative record contained no evidence that non-

citizens are dangerous or untrustworthy.

      Defendants’ blanket ban on non-citizens collecting and handling voter

registration applications is therefore not narrowly tailored to further a compelling

state interest. The State argues that it has a compelling interest in ensuring “that the

voter registration applications of every voter are delivered in a timely manner[,]”

ECF 21 at 25, but failed to ground this assertion on any evidence that non-citizen

staff or 3PVRO volunteers were responsible for returning applications late. In other

words, there is no nexus between the advanced state interest and the statutory

prohibition. “Without a factual underpinning, the State’s asserted interest lacks the

weight [the Supreme Court has] required of interests properly denominated as

compelling.” ECF 68 at 28; Bernal v. Fainter, 467 U.S. at 228 (1984); see also Shaw

v. Hunt, 517 U.S. 899, 908 n.4 (1996) (finding a “compelling interest” must have

been “the legislature’s ‘actual purpose”’ and legislature must have had “a strong

basis in evidence”).

      “At the very least, Defendants must be able to marry the solution to the

problem.” ECF 68 at 36. They didn’t do that below and fail again to do so here. At

the district court, “Defendants conceded that banning all noncitizens from collecting

or handling voter registration applications is not a perfect fit to alleviate the state’s

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concern about ‘voter integrity.’” Id. at 36–37; ECF 65 at 85 (emphasis added). That

hasn’t changed. The State still fails to point to any connection between its timely

receipt of voter registration forms on the one hand, and the citizenship status of

people handling those forms, on the other.

      In fact, Defendants have never linked the two. While they claim the Non-

Citizen Ban is justified by the chance that noncitizens may “leave the country . . .

without warning,” Br. at 15, they’ve failed to connect citizenship with timely

delivery of voter registration forms. That “connective tissue,” ECF 68 at Id. at 35–

36, has been absent during the legislative process, in preliminary injunction briefing,

at the preliminary injunction hearing, and, now, in briefing to this Court. Defendants

articulate no facts, much less a “strong basis in evidence,” connecting the suspect

classification with their purported interest. Shaw v. Hunt, 517 U.S. at 908 n.4 (1996).

      And even if Defendants had established a factual basis for needing to protect

the electorate from non-citizens mishandling voter registration forms, their ban on

all non-citizens is in no way tailored—indeed, not even rationally tailored—to

address that interest. In particular, Defendants’ only purported factual basis for the

law has no application to lawful permanent residents like plaintiff Verónica Herrera-

Lucha and other members of the organizational plaintiffs’ staff. As Defendants

concede, lawful permanent residents “may not be deported, [and] are entitled to

reside permanently in the United States.” LeClerc, 419 F.3d at 418. As such,

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resident aliens are “similarly situated to citizens in their economic, social, and

civic . . . conditions.”   Id.     The State’s vague “tim[ing]” concerns for voter

registration, see Br. 15–16, thus have no operation here. The State does not so much

as try to argue otherwise.

       To justify the ban’s far-reaching restrictions, the State only offers that the

Legislature’s work was “good enough.” ECF 68 at 56; ECF 65 at 85. That won’t

do. As the district court held, “such shoddy tailoring between restriction and

government interest presents a dubious fit under rational basis review, and it falls

woefully short of satisfying the strict scrutiny this Court must apply.” ECF 68 at 56.

Defendants do not explain how totally excluding non-citizens from collecting and

handling voter registration forms enhances existing safeguards against mishandling

voter registration applications. Defendants’ ban on non-citizens’ involvement in

voter registration activities, purely based on alienage or citizenship status, are neither

“necessary nor precise” and therefore fails the requirements of strict scrutiny.

Examining Bd. Of Eng’rs., Architects & Surveyors v. Flores de Otero, 426 U.S. 572,

605 (1976) (striking down statute requiring “private employers and contractors to

hire only engineers who are American citizens”).

       The Non-Citizen Ban cannot survive strict scrutiny and serves no legitimate

purpose other than to intentionally attack the processes of 3PVROs in helping

eligible citizens, often from marginalized communities, register to vote.

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Accordingly, the district court correctly determined Plaintiffs were likely to succeed

on the merits.

II.   The District Court Correctly Determined that the Remaining Factors
      Favor Plaintiffs.

      A.     Absent an injunction, Plaintiffs will suffer irreparable harm.

      The State’s appeal rests solely on Defendants’ likelihood-of-success-on-the-

merits argument. Defendants nowhere address the district court’s well-supported

factual findings going to Plaintiffs’ irreparable harm or the concomitant equities.

See supra, Statement of the Case, § B. And it is undisputed that extinguished

opportunities to register voters constitute an irreparable harm. See League of Women

Voters of U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016). This Court reviews those

findings for abuse of discretion requiring clear error, and the district court was well

within its discretion to conclude that Plaintiffs stood to suffer grave, irreparable harm

absent SB7050’s injunction.

      B.     The balance of equities and public interest favor Plaintiffs.

      The State does not engage in any analysis of the balance of equities to the

Parties. But it is clear the harms of staying this injunction far outweigh any

purported harms of keeping it in place. When a constitutional right hangs in the

balance, that outweighs the harm to defendants. See Gonzalez v. Gov. of Ga., 978

F.3d. 1266, 1272 (11th Cir. 2020). Defendants cannot show that the injunction

would directly harm the electoral system given the State’s existing regulations on

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voter registration and related activities. But the opposite is true for Plaintiffs.

Reversing the injunction would subject Organizational Plaintiffs to excessive fines,

loss of essential staff, and loss of funding, and Individual Plaintiffs to the loss of

economic opportunities—all because the State has imposed a suspect and unlawful

alienage classification.

      Reversing this injunction would cease Plaintiffs’ day-to-day operations, and,

most importantly, their ability to reach and register thousands of marginalized

groups ahead of pivotal elections like Florida’s March 2024 primaries. Absent the

injunction, Plaintiffs would have to immediately “order their lives and

organizational activities—including hiring, firing, and retraining employees and

volunteers—to avoid impending fines and felony prosecutions.” ECF 68 at 12.

Indeed, because “failure to comply with the law’s requirements within ninety days

of notice from the Department of State results in automatic cancellation of the

organizations’ registrations, an imminent injury” (id. at 12 n.7), and the Department

of State has already given such notice, keeping the injunction in place is the only

way to prevent Plaintiffs’ constitutionally protected conduct from triggering

cancellation. Id. at 12 n.7. At stake here is the continuous infringement of Plaintiffs’

equal protection under the law.

      In contrast, the only harm Defendants can articulate is their inability to

“enforc[e] its statutes” if this injunction is upheld. ECF 21 at 11. But Defendants

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fail to show any substantial risk of harm or disruption in administrating voter

registrations or carrying out elections. The injunction maintains the status quo,

which does not alter qualifications for registering to vote and prevents the imposition

of extreme burdens on 3PVROs and non-citizen individuals. The injunction does

not alter Defendants’ existing ability to conduct various quality control checks on

voter registration and election administration.

      The injunction also serves the public interest in registering voters in

marginalized communities and preventing infringement of Plaintiffs’ constitutional

rights. “The public has no interest in enforcing an unconstitutional ordinance.” KH

Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272–73 (11th Cir. 2006); see

also Scott v. Roberts, 612 F.3d 1279, 1297 (11th Cir. 2010). Defendants do not point

to a single reason why maintaining the status quo until trial is contrary to the public

interest, while “[t]he vindication of constitutional rights and the enforcement of a

federal statute serve the public interest almost by definition.” League of Women

Voters of Fla. v. Browning, 863 F. Supp. 2d 1155, 1167 (N.D. Fla. 2012). Moreover,

“allowing responsible organizations to conduct voter-registration drives—thus

making it easier for citizens to register and vote” naturally and clearly “promotes

democracy.” Id.; see also Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312,

1327 (11th Cir. 2019) (holding a preliminary injunction served the public interest

because the public interest is served when constitutional rights are protected).

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                                  CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request this Court affirm the

district court’s order granting a preliminary injunction.

Dated: November 13, 2023                       Respectfully submitted,

                                               /s Adriel I. Cepeda Derieux        _


Roberto Cruz                                   Adriel I. Cepeda Derieux
Miranda Galindo                                Julie A. Ebenstein
Delmarie Alicea                                Megan C. Keenan
LATINOJUSTICE PRLDEF                           Dayton Campbell-Harris
4700 Millenia Blvd. Suite 500                  Sophia Lin Lakin
Orlando, FL 32839                              AMERICAN CIVIL LIBERTIES
(321) 754-1935                                 UNION FOUNDATION
rcruz@latinojustice.org                        125 Broad St., 18th Floor
mgalindo@latinojustice.org                     New York, NY 10004
dalicea@latinojustice.org                      (212) 549-2500
                                               acepedaderieux@aclu.org
Cesar Z. Ruiz                                  jebenstein@aclu.org
Fulvia Vargas De-Leon*                         mkeenan@aclu.org
LATINOJUSTICE PRLDEF                           dcampbell-harris@aclu.org
475 Riverside Drive, Suite 1901                slakin@aclu.org
New York, NY 10115
(212) 392-4752                                 Nicholas L.V. Warren
cruiz@latinojustice.org                        ACLU FOUNDATION OF FLORIDA
fvargasdeleon@latinojustice.org                1809 Art Museum Drive, Ste. 203
                                               Jacksonville, FL 32207
Estee M. Konor*                                (786) 363-1769
DĒMOS                                          nwarren@aclufl.org
80 Broad Street, 4th Floor
New York, NY 10004                             Daniel B. Tilley
(212) 485-6065                                 Caroline A. McNamara
ekonor@demos.org                               ACLU FOUNDATION OF FLORIDA
                                               4343 W Flagler St., Suite 400
John A. Freedman                               Miami, FL 33134
Jeremy Karpatkin                               (786) 363-2714
                                          41
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ARNOLD & PORTER KAYE SCHOLER LLP           dtilley@aclufl.org
601 Massachusetts Ave., N.W.               cmcnamara@aclufl.org
Washington, DC 20001
(202) 942-5316                             Evan Preminger*
john.freedman@arnoldporter.com             Rayne Ellis*
jeremy.karpatkin@arnoldporter.com          ARNOLD & PORTER KAYE SCHOLER
                                           LLP
                                           250 W. 55th Street
                                           New York, NY 10019
                                           (212) 836-7786
                                           evan.preminger@arnoldporter.com
                                           rayne.ellis@arnoldporter.com

  Counsel for Plaintiffs-Appellees Hispanic Federation, Poder Latinx, Verónica
     Herrera-Lucha, Norka Martínez, and Elizabeth Pico (formerly A. Doe)




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                     CERTIFICATE OF COMPLIANCE

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Dated: November 13, 2023                    Respectfully submitted,

                                            /s Adriel I. Cepeda Derieux      _




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